               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

United States of America,                            )
                                                     )
                               Plaintiff,            )
                                                     )
        v.                                           )       Criminal Action Number
                                                     )       09-00121-01-CR-W-DGK
Gilberto Lara-Ruiz,                                  )
                                                     )
                               Defendant.            )

                          REPORT AND RECOMMENDATION

       Pending before the Court is the MOTION TO DISMISS INDICTMENT [Doc. 154] filed on June

14, 2010, by defendant Gilberto Lara-Ruiz (“Lara-Ruiz”). Most of the facts underlying this

motion to dismiss are undisputed. On December 30, 2006, Lara-Ruiz was arrested based on a

criminal complaint in the Central Division of the United States District Court for the Western

District of Missouri, charging him with conspiracy to distribute and possess methamphetamine

between December of 2004 and December 26, 2006, in violation of 21 U.S.C. § 846. United

States v. Lara Ruiz, 07-04002-01-CR-C-SOW (W.D. Mo.) [Doc. 1] (hereinafter cited as Lara-

Ruiz I). On January 5, 2007, Lara-Ruiz was formally indicted and charged in three counts with:

[Count One] possession with intent to distribute methamphetamine on December 29, 2006;

[Count Two] possession with intent to distribute methamphetamine on December 21, 2006; and

[Count Three] conspiracy to distribute and possess with intent to distribute methamphetamine

between December of 2004 and December 26, 2006 “both dates being approximate and

inclusive.” Lara-Ruiz I [Doc. 15]. Shortly thereafter, on February 2, 2007, Lara-Ruiz was

charged in a four-count superceding indictment which repeated the previous three counts and




       Case 4:09-cr-00121-DGK          Document 222       Filed 12/30/10      Page 1 of 11
added a fourth count charging Lara-Ruiz with being an alien who illegally entered the United

States. Lara-Ruiz I [Doc. 22].

       On May 2, 2007, the district court1 held a hearing to accept a change of plea from Lara-

Ruiz wherein Lara-Ruiz plead guilty to Count Two of the superceding indictment (possession

with intent to distribute methamphetamine on December 21, 2006) and Count Four of the

superceding indictment (illegal entry into the United States). Lara-Ruiz I [Doc. 27]. The change

of plea was the result of a PLEA AGREEMENT reached between Lara-Ruiz and the United States

Attorney for the Western District of Missouri. Lara-Ruiz I [Doc. 26]. On February 5, 2008, in a

hearing before the district court, the government (pursuant to the PLEA AGREEMENT) dismissed

Count One of the superceding indictment (possession with intent to distribute methamphetamine

on December 29, 2006) and Count Three of the superceding indictment (conspiracy to distribute

and possess with intent to distribute methamphetamine between December of 2004 and December

26, 2006). Lara-Ruiz I [Doc. 35]. On that same date, the District Court sentenced Lara-Ruiz to

87 months incarceration on Count Two and 6 months incarceration on Count Four (the sentences

to be served concurrently). Lara-Ruiz I [Doc. 35]. On February 14, 2008, the district court

entered its JUDGMENT IN A CRIMINAL CASE memorializing the dismissals and the sentence. Lara-

Ruiz I [Doc. 36].

       On April 9, 2009, Lara-Ruiz was charged in the United States District Court for the

Western District of Missouri, Western Division, in a fifteen-count indictment2 with engaging in a

criminal enterprise which involved possession with intent to distribute methamphetamine between

January 1, 2005 and December 27, 2006 (and specific dates therein) [Counts One, Three, Four,


        1
                The Honorable Scott O. Wright, Senior Judge.
        2
                Only fourteen counts pertain to Lara-Ruiz.

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       Case 4:09-cr-00121-DGK         Document 222           Filed 12/30/10   Page 2 of 11
Five, Six, Seven, Eighth, Nine, Ten, Eleven, Twelve, and Thirteen] and possession of a firearm in

the furtherance of drug trafficking crimes [Counts Fourteen and Fifteen]. [Doc. 1].

       Lara-Ruiz has now moved to have the indictment dismissed as to him, arguing that his due

process rights are being violated by the government’s current indictment which, he argues,

contravenes the PLEA AGREEMENT in Lara-Ruiz I. As discussed infra, the undersigned

recommends that the Court, after making an independent review of the record and applicable law,

enter an order granting, in part, and denying, in part, the motion to dismiss.

       In considering the scope and meaning of a plea agreement, a court must bear in mind a

number of considerations. Plea agreements are contractual in nature and should be interpreted

according to general contractual principles. United States v. DeWitt, 366 F.3d 667, 669 (8th Cir.

2004). However, while plea agreements are essentially contracts between the defendant and

government, because of their unique nature, they are subject to some special limitations.

Margalli-Olvera v. INS, 43 F.3d 345, 351 (8th Cir.1994) (“Application of . . . contract principles

is tempered by the constitutional implications of a plea agreement.”). For example, where a plea

agreement is ambiguous, the ambiguities are construed against the government. United States v.

Andis, 333 F.3d 886, 890 (8th Cir. 2003) (en banc). See also, Margalli-Olvera, 43 F.3d at 353

(noting that ambiguities are construed against the government because “these agreements are

normally drafted by the Government and involve significant rights of a defendant”). Further:

               With respect to federal prosecutions, the courts’ concerns run even
               wider than protection of the defendant’s individual constitutional
               rights - to concerns for the honor of the government, public
               confidence in the fair administration of justice, and the effective
               administration of justice in a federal scheme of government.




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       Case 4:09-cr-00121-DGK           Document 222        Filed 12/30/10       Page 3 of 11
United States v. Thompson, 403 F.3d 1037, 1039 (8th Cir. 2005) (citation omitted). Finally, a

breach of a promise that induced a guilty plea violates due process. United States v. Van

Thournout, 100 F.3d 590, 594 (8th Cir. 1996).

       Pursuant to the PLEA AGREEMENT at issue in this case, the government agreed to seek the

dismissal of Counts One and Three of the superceding indictment in Lara-Ruiz I. In conformity

with that understanding, at Lara-Ruiz’ sentencing on February 5, 2008, the government moved to

dismiss those counts. The district court granted that dismissal and memorialized it in the ensuing

JUDGMENT IN A CRIMINAL CASE. However, the available record in Lara-Ruiz I does not

explicitly state whether the government’s dismissal Counts One and Three of the superceding

indictment was “with prejudice” or “without prejudice.” It is, of course, axiomatic that a

dismissal of a count with prejudice generally bars reprosecution of a defendant on that offense,

while a dismissal without prejudice typically does not impede recharging a defendant.

       When the dismissal of a criminal count (or an entire indictment) is silent as to whether it is

with or without prejudice, some examination of the parties (and the district court’s) intent is

required. In this case, that examination need not take up a great deal of time. It is simply

inconceivable that a plea agreement between the government and a defendant that proposes a

dismissal of some counts of an indictment, does not typically intend for the dismissal to be with

prejudice. The entire sine qua non of a plea agreement is that a defendant agrees to plead guilty

to some illegal activity in exchange for the government agreeing not to pursue prosecution of

other illegal activity that might be proven if there were a trial. Such an agreement has little

meaning if




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       Case 4:09-cr-00121-DGK           Document 222         Filed 12/30/10      Page 4 of 11
the government were unabashedly free to refile or re-indict on dismissed charges after the

defendant’s guilty plea is entered.3 As another federal court has found:

               Dismissals by the government are generally presumed to be without
               prejudice, unless a contrary intent is clearly expressed. The intent
               of the parties as to the plea agreement – as manifest in the
               agreement itself – was clearly that the dismissal be with prejudice.
               The government’s motion to dismiss and the court’s subsequent
               dismissal should be construed in light of that intent.

United States v. Brown, 425 F.3d 681, 682 (9th Cir. 2005) (per curiam) (citations and internal

punctuation omitted). Consequently, when a plea agreement provides for the dismissal of some

counts, such a dismissal is presumptively with prejudice.4 Such a rule is in line with common


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                The PLEA AGREEMENT in Lara-Ruiz I provides:

                       Based upon evidence in its possession at this time, the United
                       States Attorney’s Office for the Western District of Missouri, as
                       part of this plea agreement, agrees not to bring any additional
                       charges against the defendant for any federal criminal offenses
                       related to possession with intent to distribute methamphetamine for
                       which it has venue and which arose out of the defendant’s conduct
                       described above. Additionally, the United States Attorney for the
                       Western District of Missouri agrees to dismiss the original
                       indictment and Counts 1 and 3 of the superseding indictment at
                       sentencing.

               While not expressly stating that the dismissals were with prejudice, a plain
reading of the above-quoted language of the PLEA AGREEMENT compels the assumption that the
government intended to dismiss Counts 1 and 3 with prejudice and to forego prosecution of
defendant Lara-Ruiz for any additional charges related to possession with intent to distribute
methamphetamine during the relevant time period.
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                If a dismissal without prejudice is a necessary aspect of the government’s assent
to a particular plea agreement, the government (which generally is the principal drafter of such
agreements) should include such specific language in the plea agreement. As one court has
noted:

                As a judge, my function is not to assist the Government’s efforts to
                win convictions. Rather, I sit to “further the administration of
                criminal justice” – a task that entails, inter alia, enforcing

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       Case 4:09-cr-00121-DGK          Document 222        Filed 12/30/10     Page 5 of 11
sense and federal law.5 As such, counts dismissed pursuant to a plea agreement may not be

refiled against a defendant unless the district court refuses to accept the plea agreement, the

defendant materially breaches the plea agreement, or the plea agreement expressly allows for the

refiling.

        As such, at the sentencing of Lara-Ruiz on February 5, 2008, the district court dismissed

with prejudice Counts One and Three of the superceding indictment in Lara-Ruiz I. Of import to

the current case, dismissed Count Three provided:

                From an unknown date, but at least as early as December 2004, the
                exact date being unknown, and continuing to on or about December
                26, 2006, both dates being approximate and inclusive, in Cole,
                Jackson, and Hickory Counties, in the Western District of Missouri,
                and elsewhere, GILBERTO LARA-RUIZ, Defendant, did
                knowingly and intentionally combine, conspire, confederate and
                agree with persons known and unknown, to knowingly and
                intentionally distribute and possess with the intent to distribute 500
                grams or more of a mixture and substance containing a detectable
                amount of methamphetamine, a Schedule II controlled substance, in
                violation of Title 21, United States Code, Section 841(a)(1) and
                Section 846, and punishable under Section 841(b)(1)(A)(viii).




                Government promises to criminal defendants. I therefore hold that
                the parties’ plea bargain agreement precluded the Government
                from reprosecuting defendant for those charges which the
                Government agreed to dismiss with prejudice as part of [the] plea
                bargain. . . . Had the Government insisted on a “without
                prejudice” designation, perhaps it would not now be estopped from
                reprosecution.

 United States v. Serubo, 502 F.Supp.290, 293 (E.D. Pa. 1980).
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                 The clear implication of federal law is that counts dismissed as part of a plea
 agreement typically may not be refiled by the government (i.e., are “dismissals with prejudice”)
 absent extremely rare and unusual circumstances. For instance, federal law provides that “any
 counts of an indictment . . . that are dismissed pursuant to a plea agreement” may be reinstated
 by a district court only when “the guilty plea was subsequently vacated on the motion of the
 defendant.” 18 U.S.C. § 3296(a)(3).

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        Case 4:09-cr-00121-DGK          Document 222        Filed 12/30/10      Page 6 of 11
Lara-Ruiz I [Doc. 22]. By comparison, the indictment in this case similarly charges Lara-Ruiz

with:

        (1)    violating 21 U.S.C. § 848, between January 1, 2006, and December
               27, 2006, by knowingly and intentionally distributing and
               possessing with intent to distribute methamphetamine in the
               Western District of Missouri [Count One];

        (2)    violating 21 U.S.C. §§ 841, 846, between January 1, 2006, and
               December 27, 2006, by knowingly and intentionally distributing
               and possessing with intent to distribute methamphetamine in the
               Western District of Missouri [Counts Three through Nine];

        (3)    violating 21 U.S.C. § 1956, between January 1, 2006, and
               December 27, 2006, by knowingly and intentionally laundering
               money generated by the actions of distributing and possessing with
               intent to distribute methamphetamine in the Western District of
               Missouri [Counts Ten through Thirteen]; and

        (4)    violating 21 U.S.C. § 924, between January 1, 2006, and December 27,
               2006, by knowingly and intentionally possessing and discharging a firearm
               in furtherance of his actions in distributing and possessing with intent to
               distribute methamphetamine in the Western District of Missouri [Counts
               Fourteen through Fifteen].

        In his motion to dismiss, Lara-Ruiz argues that the PLEA AGREEMENT in Lara-Ruiz I bars

all of the aforesaid counts in the indictment for this case and, thus, prosecuting Lara-Ruiz on such

counts would be a violation of his due process rights.6 In response the government offers several

arguments in support of the new indictment and in opposition to the motion to dismiss.

        The government concedes that prior to the entry of the PLEA AGREEMENT in Lara-Ruiz I,

the United States Attorney’s Office for the Western District “began conducting a separate and

independent investigation” into Lara-Ruiz’ activities. However, the government argues that the

new investigation was conducted out of the “Western Division” offices in Kansas City, while


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               Any promise made by the Government that constitutes a significant part of the
defendant’s inducement or consideration for making the plea agreement must be fulfilled to
satisfy due process. Santobello v. New York, 404 U.S. 257, 262 (1971).

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        Case 4:09-cr-00121-DGK         Document 222        Filed 12/30/10      Page 7 of 11
Lara-Ruiz I was handled out of the “Central Division” offices in Jefferson City. The government

notes that in the investigation in the Western Division, Lara-Ruiz was known only as “Hill” until

after the PLEA AGREEMENT in Lara-Ruiz I had been reached. The government implicitly suggests

that its lack of knowledge should allow the present indictment to proceed. The Court rejects this

argument. Lara-Ruiz’ use of the nickname “Hill” was not unknown. Indeed, both the

superceding indictment and the PLEA AGREEMENT in Lara-Ruiz I make explicit reference to the

fact that the government’s confidential witness knew Lara-Ruiz as “Hill.”

       It appears that the right hand simply did not know what the left hand was doing in the

United States Attorney’s Office with regard to Lara-Ruiz. However, the responsibility for such

confusion must be borne by the government. The PLEA AGREEMENT in Lara-Ruiz I expressly

states that it was made between Lara-Ruiz and “the United States Attorney’s Office for the

Western District of Missouri.” There is no limitation by division. Moreover, the PLEA

AGREEMENT states:

               The defendant understands and agrees that this plea agreement is
               only between him and the United States Attorney for the Western
               District of Missouri, and that it does not bind any other federal,
               state or local prosecution authority, or any other government
               agency, unless otherwise specified in this agreement.

The plain implication of this language is that the PLEA AGREEMENT does bind the United States

Attorney for the Western District of Missouri.

       Similarly unavailing is the government’s argument that the present indictment is excepted

from coverage under the PLEA AGREEMENT in Lara-Ruiz I because the agreement only prevents

the government from bringing new charges against Lara-Ruiz “based on the evidence in its

possession at this time.” The government argues that the word “its” refers only to the “Central

Division.” Such an interpretation has no support in logic or in the plain language of the PLEA


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       Case 4:09-cr-00121-DGK          Document 222       Filed 12/30/10      Page 8 of 11
AGREEMENT. The unambiguous language in the PLEA AGREEMENT makes its evident that the

phrase “based on the evidence in its possession at this time” refers to the Office of the United

States Attorney for the Western District of Missouri. Compare United States v. Kelly, 18 F.3d

612, 616 (8th Cir. 1994) (when the language in a plea agreement is unambiguous, the court

should enforce the plain meaning of the agreement).

       The Court likewise rejects the argument advanced by the government that the PLEA

AGREEMENT does impact the current indictment because the Central Division would have venue

over the activities at issue in the present indictment. The government asserts that the Central

Division’s jurisdiction does not extend to the counties where the acts occurred in the present

indictment. This “argument” ignores the fact that the Lara-Ruiz I involved activities occurring in

Jackson and Cass counties which lie in the Western Division of the Western District of Missouri.

28 U.S.C. § 105(b)(1).

       More fundamentally, the government’s argument is an effort to impose “divisional venue”

into the federal criminal process. The Federal Rules of Criminal Procedure provide, in part:

               Unless a statute or these rules permit otherwise, the government
               must prosecute an offense in a district where the offense was
               committed. The court must set the place of trial within the district
               with due regard for the convenience of the defendant and the
               witnesses, and the prompt administration of justice.

FED. R. CRIM. P. 18 (emphasis added). The 1966 amendments to Rule 18 explicitly eliminated

the requirement that the prosecution of an alleged offense must take place in the congressionally

designated division, if one exists, in which the alleged offense was committed. FED. R. CRIM. P.

18, Notes of Advisory Committee [1966 Amendment]. See also DAVID D. SIEGEL, COMMENTARY

ON 1988 REPEAL OF § 1393, located at 28 U.S.C. § 1393 [repealed] (discussing Congress’ 1988

elimination of divisional venue in civil cases and noting Congress’ “elimination of divisional



                                                 9

       Case 4:09-cr-00121-DGK           Document 222        Filed 12/30/10      Page 9 of 11
venue in criminal cases years earlier”). The government’s argument based on divisional venue is

frivolous.

       Finally, the government argues that, at a minimum, Counts Fourteen and Fifteen of the

present Indictment are not subject to dismissal. Those counts involve the use of a firearm during

and in relation to drug trafficking activities. The government contends that its ability to bring

these charges is preserved in the PLEA AGREEMENT. To that end, the PLEA AGREEMENT provides:

               The defendant understands that this plea agreement does not
               foreclose any prosecution for an act of murder or attempted murder,
               an act or attempted act of physical or sexual violence against the
               person of another, or a conspiracy to commit any such acts of
               violence or any other criminal activity of which the United
               States Attorney for the Western District of Missouri has no knowledge.

The government notes that violations of the subject firearms statute, 21 U.S.C. § 924, are

considered “crimes of violence” under the UNITED STATES SENTENCING GUIDELINES.

       Although the question presented is a close one, the Court agrees that the PLEA

AGREEMENT in Lara-Ruiz I permitted the government to pursue the firearms allegations in Counts

Fourteen and Fifteen of the present indictment. In the view of the Court, the above-quoted

language from the PLEA AGREEMENT in Lara-Ruiz I must have some meaning. By its plain

language, the quoted paragraph preserves the government’s rights to bring charges against Lara-

Ruiz in four instances:

       (1)     an act of murder or attempted murder,

       (2)     an act or attempted act of physical or sexual violence against the
               person of another,

       (3)     a conspiracy to commit any such acts of violence, or

       (4)     any other criminal activity of which the United States Attorney for
               the Western District of Missouri has no knowledge.

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      Case 4:09-cr-00121-DGK           Document 222        Filed 12/30/10      Page 10 of 11
Based on the concessions of the government, it appears likely that it had information that Lara-

Ruiz may have committed or conspired to commit an act of violence at the time the PLEA

AGREEMENT was reached in Lara-Ruiz I. However, the PLEA AGREEMENT does not limit

prosecution on such charges to those unknown to the United States Attorney’s Office. Because

the Plea Agreement expressly permits the filing of Counts Fourteen and Fifteen of the present

indictment, neither the dismissal with prejudice of the prior superceding indictment in Lara-Ruiz I

nor the due process clause supports a dismissal of those counts.

        Accordingly, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order GRANTING IN PART AND DENYING IN PART the MOTION

TO DISMISS INDICTMENT [Doc. 154] filed on June 14, 2010, by defendant Gilberto Lara-Ruiz.

Specifically, it is recommended that the Court GRANT dismissal of COUNT(s) ONE, THREE,

FOUR, FIVE, SIX, SEVEN, EIGHT, NINE, TEN, ELEVEN, TWELVE, and THIRTEEN and

DENY dismissal of COUNT(s) FOURTEEN and FIFTEEN.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.

                                                      /s/ John T. Maughmer
                                                  JOHN T. MAUGHMER
                                               U. S. MAGISTRATE JUDGE



                                                 11


       Case 4:09-cr-00121-DGK          Document 222         Filed 12/30/10     Page 11 of 11
